        Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 1 of 12                      FILED
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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                           EASTERN DIVISION

JOSEPH A. and GURLENE                   ]
BLANKENSHIP,                            ]
                                        ]
      Plaintiffs,                       ]
                                        ]
v.                                      ]     Case No.: 1:17-cv-00345-ACA
                                        ]
BAKER FOODS, INC.,                      ]
                                        ]
      Defendant.                        ]

                    MEMORANDUM OPINION AND ORDER

      Plaintiff Gurlene Blankenship fell over a floor mat while shopping in a

Piggly Wiggly grocery store operated by Defendant Baker Foods, Inc. (“Baker”).

(Doc. 4 at 2–3). Mrs. Blankenship and her husband, Joseph, allegedly suffered

injuries as a result of this fall and filed suit against Baker to recover damages. (Id.

at 6–7). In the amended complaint, the Blankenships allege that the floor mat

located at the store exit had not been properly laid, causing Mrs. Blankenship to

trip and fall. (Id. at 3–5). The parties have filed cross–motions for summary

judgment, which have been fully briefed. (Doc. 30; Doc. 36).

      For the reasons explained below, the court GRANTS IN PART and

DENIES IN PART Baker’s motion for summary judgment.
       Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 2 of 12




I.    STANDARD OF REVIEW

      In deciding a motion for summary judgment, the court must first determine

if the parties genuinely dispute any material facts, and if they do not, whether the

moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). A

disputed fact is material if the fact “might affect the outcome of the suit under the

governing law,” and a dispute is genuine “if the evidence is such that a reasonable

jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986).

      The Rule 56 standard also applies when addressing cross-motions for

summary judgment and the court must review each motion separately to determine

whether either party is entitled to judgment as a matter of law. United States v.

Oakley, 744 F.2d 1553, 1555 (11th Cir. 1984) (“Cross-motions for summary

judgment will not, in themselves, warrant the court in granting summary judgment

unless one of the parties is entitled to judgment as a matter of law on facts that are

not genuinely disputed.”).

II.   FACTS

      On January 22, 2016, Joseph and Gurlene Blankenship visited Alabama to

attend a family member’s funeral. (Doc. 32-2 at 9). After the service, Mr. and

Mrs. Blankenship traveled to Childersburg and stopped at a Piggly Wiggly to

purchase groceries. (Id. at 9–10). With their purchases made, the Blankenships


                                          2
       Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 3 of 12



proceeded toward the exit. (Id. at 10–11). Mrs. Blankenship turned her attention

to sale items located near the exit and tripped on a floor mat, causing her to fall

against a set of automatic sliding doors. (Doc. 4 at 6; Doc. 32-2 at 10). Mrs.

Blankenship alleges that she fell as a result of a “puck” in the edge of the mat on

the floor. (Doc. 32-2 at 19–20). Prior to the fall, Mrs. Blankenship did not look

down or notice any irregularities in the mat. (Id. at 19). As a result of her fall,

Mrs. Blankenship claims to have suffered severe injuries to her spine and right

shoulder. (Doc. 4 at 6).

      A few hours before Mrs. Blankenship fell, a Baker employee mopped the

floor next to the store exit. (Doc. 32-4 at 3–5). Once he finished mopping, the

employee returned to the floor mat and used his right foot to straighten it, “making

sure everything was stable where it was at.” (Id. at 6). Although the employee

testified that nothing about the floor mat’s condition warranted taking additional

precautions (id. at 10), he acknowledged the possibility that the “puck” in the rug

could have been present at the time Mrs. Blankenship fell (id. at 6–7).

      Baker preserved a video surveillance tape of the incident and produced a

copy to Mrs. Blankenship along with its initial disclosures. (Doc. 32-2 at 19; Doc.

11 at 1–2). Neither Mrs. Blankenship nor Mr. Blankenship noticed a defect in the

floor mat while inside the store, but both identified a small “puck” while reviewing

video footage months later. (Doc. 32-3 at 6; Doc. 32-2 at 19). Mrs. Blankenship


                                         3
          Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 4 of 12



further testified that she would have “probably” noticed the floor mat’s condition

had she looked down. (Doc. 32-2 at 19).

         On January 1, 2017, the Blankenships filed this action in the Circuit Court of

Talladega County, Alabama. (Doc. 1 at 17). Baker subsequently removed this

case to federal court based on diversity jurisdiction. (Id. at 2). The Blankenships

amended their complaint to correctly designate “Baker Foods, Inc.” as a defendant.

(Doc. 4 at 1). The parties’ motions for summary judgment are currently before the

court.

III.     DISCUSSION

         The amended complaint alleges the following claims against Baker:

negligence (Count I); willful and wanton conduct (Count II); negligent training,

retention, and supervision (Count III); and spoliation of evidence (Count IV). (Id.

at 7–10). Mr. Blankenship also brings a loss of consortium claim derivative of his

wife’s injuries. (Id. at 6). Baker moved for summary judgment on all counts of the

amended complaint. (Doc. 31). The Blankenships moved for summary judgment

on Counts I, II, and III of their amended complaint. (Doc. 38).

         A. Premises Liability

         It is undisputed that Mrs. Blankenship was a business invitee when she

entered Piggly Wiggly. Edwards v. Intergraph Services Co., Inc., 4 So. 3d 495,

500 (Ala. Civ. App. 2008). “The duty owed to an invitee is limited to hidden


                                            4
       Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 5 of 12



defects which are not known to the invitee and would not be discovered by him in

the exercise of ordinary care.” Ex parte Mountain Top Indoor Flea Market, Inc.,

699 So. 2d 158, 161 (Ala. 1997). Therefore, Baker did not have a duty to warn

Mrs. Blankenship of open and obvious defects on its premises. Ex parte Kraatz,

775 So. 2d 801, 803 (Ala. 2000).

      When determining whether an open and obvious condition exists, the court’s

inquiry is whether “the condition and risk are apparent to, and would be recognized

by, a reasonable person” in Mrs. Blankenship’s position. Hines v. Hardy, 567 So.

2d 1283, 1284 (Ala. 1990). Applying this standard, “the question is whether the

danger should have been observed, not whether it was consciously appreciated.”

Jones Food Co. v. Shipman, 981 So. 2d 355, 362 (Ala. 2006). Generally, “whether

a danger was open and obvious is a question of fact to be determined by a jury.”

Harley v. Bruno’s Supermarkets, Inc., 888 So. 2d 525, 527 (Ala. Civ. App. 2004)

(citing Kraatz, 775 So. 2d at 801–04). Summary judgment is only appropriate

“when the undisputed evidence shows that the plaintiff was aware of the danger,

appreciated the danger, and acted more carefully because of the perceived danger.”

Harding v. Pierce Hardy Real Est., 628 So. 2d 461, 463 (Ala. 1993).

      Baker argues that it is entitled to summary judgment on the Blankenships’

negligence claim because the puck on the floor mat was an open and obvious

condition which was known or should have been discovered by Mrs. Blankenship.


                                        5
       Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 6 of 12



Baker’s argument centers on the fact that Mrs. Blankenship testified during her

deposition that had she looked down, she would have noticed the alleged

dangerous condition and acted to avoid it. In support of this argument, Baker cites

three cases: Edwards v. Hammond, 510 So. 2d 234 (Ala. 1987); Dolgencorp, Inc.

v. Taylor, 28 So. 3d 737 (Ala. 2009); and Sheikh v. Lakeshore Foundation, 64 So.

3d 1055 (Ala. Civ. App. 2010). However, all of these cases are distinguishable

from the case at bar.

      In Edwards, the invitee plaintiff filed suit against her employer for injuries

suffered from a slip and fall incident involving a small rug located in the

defendant’s hallway. Edwards, 510 So. 2d at 235. The plaintiff claimed that the

fact the rug was placed on a hardwood floor without rubber backing was

“sufficient to show that [the defendant] did not use reasonable care in keeping her

premises safe.” Id. at 236. The trial court entered a directed verdict in favor of the

defendant and the Alabama Supreme Court affirmed, finding a “complete absence

of evidence tending to establish a breach of any duty owed [to] the plaintiff by the

defendant.” Id. at 237. Rejecting the application of res ipsa loquitur, the Alabama

Supreme Court held that the plaintiff failed to prove a defective condition in the

rug proximately caused her injuries. Id. (citing Tice v. Tice, 361 So. 2d 1051, 1052

(Ala. 1978)). Unlike the plaintiff in Edwards, Mrs. Blankenship provides some

evidence from which a jury could conclude that the small puck on the store’s floor


                                          6
        Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 7 of 12



mat created a dangerous condition and that Baker breached its duty to repair it.

This finding is supported by evidence in the record, including witness testimony,

photographs, and video footage of the incident.

      In Dolgencorp, the plaintiff brought negligence and wantonness claims

against Dollar General for injuries she suffered after tripping over unopened boxes

of merchandise. Dolgencorp, Inc., 28 So. 3d at 739. In reversing a jury verdict in

favor of the plaintiff, the Court relied primarily on the plaintiff’s testimony

establishing that “she saw the cases of merchandise in the aisles of the store,

appreciated the hazard posed by those cases, and acted more carefully because of

that hazard.” Id. at 744. Under the facts of this case, Mrs. Blankenship testified

that she did not see the puck. If Mrs. Blankenship could not see the puck, then it

logically follows that she could not have appreciated the hazard or acted more

carefully because it existed.

      In Sheikh, the Court of Civil Appeals affirmed summary judgment in favor

of the defendant rehabilitative center where the plaintiff tripped over cables used to

connect wheelchairs to exercise machines. Sheikh, 64 So. 3d at 1062. The court

found that the plaintiff’s familiarity with the facility, having exercised at the

location nearly 500 times over the course of four years, coupled with the

defendant’s routine practice of connecting wheelchairs to exercise machines with

cables, established an “open and obvious” condition. Id. at 1057, 1062. Here, it is


                                          7
       Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 8 of 12



undisputed this was Mrs. Blankenship’s first visit to the Piggly Wiggly in

Childersburg. Moreover, the existence of the alleged hazardous floor mat was not

a condition in which a customer would routinely encounter while visiting the store.

      In the absence of evidence establishing that Mrs. Blankenship was aware of

the puck, appreciated the danger it posed, and acted more carefully to avoid it,

Baker is not entitled to summary judgment.

      The Blankenships maintain that they are entitled to summary judgment on

the negligence claim under the “distraction doctrine” because conspicuously posted

warning signs on the store’s automatic sliding doors distracted Mrs. Blankenship

as she exited the store. (Doc. 38 at 6). This argument misconstrues Alabama

Supreme Court precedent and is not supported by evidence in the record. The only

conceivable “distraction” case in Alabama involved an invitee who slipped and fell

on a concrete ramp while exiting a grocery store. Bogue v. R & M Grocery, 553

So. 2d 545, 545 (Ala. 1989). There, the ramp on which the plaintiff fell was built

in such a way that a patron exiting the store would be naturally distracted by

passing vehicles due to the exit’s proximity to an island of gasoline pumps. Id. at

546. In reversing the lower court’s grant of summary judgment, the Court held

that the plaintiff provided sufficient evidence from which a jury could find that the

distraction itself constituted a dangerous condition. Id.




                                          8
       Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 9 of 12



      In the present case, Mrs. Blankenship testified that she “was not looking at

[the] rug” while exiting the store, but instead was “probably looking at the door” or

“some stuff [that] was on sale in a basket.” (Doc. 32-2 at 10–11). Nothing in the

record reflects that Mrs. Blankenship was distracted by warning signs on the door.

Accordingly, she is not entitled to summary judgment on this issue.

      B. Negligent Training, Retention, and Supervision

      To support a negligent hiring, training, and/or supervision claim, the

Blankenships must prove that: (1) a Baker employee committed a tort recognized

under Alabama law; (2) a Baker employee was incompetent to properly maintain

the store’s floor mats; (3) Baker had notice of its employee’s incompetence or

would have known had it exercised due diligence; and (4) Baker failed to

adequately respond to this notice. Askew v. R & L Transfer, Inc., 676 F. Supp. 2d

1298, 1303–04 (M.D. Ala. 2009) (citing Armstrong Bus. Servs. v. AmSouth Bank,

817 So. 2d 665, 682 (Ala. 2001)).

      Baker argues it is entitled to summary judgment because the Blankenships

failed to establish wrongful conduct by a Baker employee. This argument is

derivative of its argument that the puck in the rug was an open and obvious defect.

But, as discussed above, the court has left that issue for the jury. Thus, the court

cannot say as a matter of law that Baker did not negligently train its employees.

Jones Exp., Inc. v. Jackson, 86 So. 3d 298, 304 (Ala. 2010).


                                         9
       Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 10 of 12




      C. Wanton and Willful Conduct

      For their willful and wanton claim, the Blankenships contend that Baker’s

knowledge of the floor mat’s dangerous condition and its failure to correct it,

reflect a reckless indifference to the safety of its customers. (Doc. 38 at 12).

Under Alabama law “wantonness” is defined as the “doing of some act or

something with reckless indifference to the consequences” or “a failure or

omission to do something, with reckless indifference to the consequences.”

Weatherly v. Hunter, 510 So. 2d 151, 152 (Ala. 1987). To constitute willful

conduct, there “must be knowledge of danger accompanied with a design or

purpose to inflict injury.” English v. Jacobs, 82 So. 2d 542, 545 (Ala. 1955).

Thus, wantonness differs from willfulness “in that intentional injury requires both

knowledge of the danger and a design or purpose to inflict injury.” Id.

      The evidence in this case does not support the Blankenships’ claim of willful

and wanton conduct. Nothing in the record points to a conscious disregard of a

known danger or indicates that Baker’s employees acted with a design or purpose

to injure Mrs. Blankenship.      In fact, Mrs. Blankenship testified during her

deposition that she did not believe the store employees intended to cause her

injuries. (Doc. 32-2 at 12). Therefore, the Blankenships’ claim of willful and

wanton conduct fails as a matter of law.




                                           10
      Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 11 of 12




      D. Loss of Consortium

      Baker next moves for summary judgment on Mr. Blankenship’s loss of

consortium claim. (Doc. 31 at 17). Under Alabama law, loss of consortium is a

derivative claim of a non-injured spouse that arises from an injury suffered by an

injured spouse. Jenkins v. State Farm Mut. Auto. Ins. Co., 30 So. 3d 414, 418

(Ala. Civ. App. 2008). To recover damages on a loss of consortium claim, Mr.

Blankenship must prove that his wife’s injuries were caused by Baker and, as a

result, he suffered a personal harm. Ex parte N.P., 676 So. 2d 928, 930 (Ala.

1996). Because Mrs. Blankenship’s negligence claims survive summary judgment,

Mr. Blankenship’s loss of consortium claim does as well.

      E. Spoliation of Evidence

      Lastly, Baker moves for summary judgment on the Blankenships’ spoliation

claim. (Doc. 31 at 18). Alabama defines spoliation as “an attempt by a party to

suppress or destroy material evidence favorable to the party’s adversary.” Vesta

Fire Ins. Corp. v. Milam & Co. Const., 901 So. 2d 84, 93 (Ala. 2004). According

to the amended complaint, the Blankenships allege that Baker “attempted to

wrongfully destroy, hide, conceal, alter, or otherwise tamper with” material

evidence, including security video footage related to Mrs. Blankenship’s fall.

(Doc. 4 at 9–10). The Blankenships do not oppose Baker’s motion on this count

and the only specific evidence that the Blankenships allege was subject to


                                       11
       Case 1:17-cv-00345-ACA Document 58 Filed 12/21/18 Page 12 of 12



spoliation is the video of the incident. But, it is undisputed that Baker produced

this evidence along with its initial disclosures. (Doc. 11 at 2). Because there is no

evidence to support this claim the Blakenships’ claim fails.

IV.   CONCLUSION

      For the foregoing reasons, the court GRANTS IN PART and DENIES IN

PART Baker’s motion for summary judgment. The court ENTERS SUMMARY

JUDGMENT in favor of Baker and against the Blankenships on Counts II and IV

of the amended complaint because no evidence in the record supports these claims.

The court DENIES the motion as to the remaining claims and the court DENIES

the Blankenships’ motion for partial summary judgment because a jury must

determine whether the floor mat constituted an open and obvious danger.

      DONE and ORDERED this December 21, 2018.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




                                         12
